   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-12289
                                         * * * ICRS CONFIDENTIAL * * *

        To: FLEMMING, JAYVON R. - #556607
            UNIT: _N-_B -- _B52-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     08/18/2023
           Date Complaint Received:         08/15/2023
           Subject of Complaint:        25 - Psychology

           Brief Summary:               complains regarding not being seen by PSU

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: August 18, 2023                                 Page 1 of 1                         Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-401 (Rev. 04/18)                                                                                         Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-12289
                                         * * * ICRS CONFIDENTIAL * * *

       To: FLEMMING, JAYVON R. - #556607
           UNIT: _N-_B -- _B52-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Complaint Acknowledged: 08/18/2023                                        Inmate Contacted? No

          Date Complaint Received:        08/15/2023
          Subject of Complaint:          25 - Psychology

          Person(s) Contacted:           Dr Van Buren

          Document(s) Relied Upon:       DOC 310

          Brief Summary:                 complains regarding not being seen by PSU

          Summary of Facts:              BK    Inmate Flemming complains regarding not being seen by PSU.

                                         Dr Van Buren was contacted and responded that Inmate Flemming is
                                         complaining about limited mental health options due to modified movement.
                                         Inmate Flemming has had contact with PSU.

                                         WCI has been on a modified movement since the end of March. Inmate is
                                         advised the administrative rules have already been suspended. Along with that,
                                         movement has changed and other modifications to Institution Operations have
                                         been made. The institution is working diligently to move back to normalcy but is
                                         still working under suspended rules.

                                         Recommendation is for dismissal as Inmate Flemming has had contact with
                                         PSU.

          ICE Recommendation:            Dismissed

          Recommendation Date:           09/07/2023




                                         B. Kolb - Institution Complaint Examiner




Print Date: September 21, 2023                               Page 1 of 1                       Institution Complaint Examiner's Office
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-403 (Rev. 04/18)                                                                                        Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER WCI-2023-12289
                                         * * * ICRS CONFIDENTIAL * * *

       To: FLEMMING, JAYVON R. - #556607
           UNIT: _N-_B -- _B52-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Complaint Acknowledged: 08/18/2023
          Date Complaint Received:         08/15/2023
          Subject of Complaint:            25 - Psychology
          Brief Summary:                   complains regarding not being seen by PSU
          ICE's Recommendation:            Dismissed
          Reviewer's Decision:             Dismissed

          Reason(s) for Decision:          A review of Mr. Flemming's healthcare record shows that his PSU clinician is
                                           aware of his mental health concerns and has been responsive to those
                                           concerns. PSU has met with him frequently and has kept in contact with him
                                           between sessions through Psychological Service Requests and through
                                           homework assignments.
          Decision Date:                   09/19/2023




                                          M. Larson - Reviewing Authority

          A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
          decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
          (DOC 310.12, Wis. Adm. Code).




Print Date: September 21, 2023                                 Page 1 of 1                                         Reviewer's Office
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   DEPARTMENT OF CORRECTIONS                                                                                              WISCONSIN
   Department of Adult Institutions                                                                                 Administrative Code
   DOC-405A (Rev. 04/18)                                                                                              Chapter DOC 310


                                                  CCE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-12289
                                         * * * ICRS CONFIDENTIAL * * *

        To: FLEMMING, JAYVON R. - #556607
            UNIT: _N-_B -- _B52-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Appeal Acknowledged:         09/28/2023

           Date Appeal Received:            09/28/2023
          Subject of Complaint:             25 - Psychology

           Brief Summary:                   complains regarding not being seen by PSU

           Your request for review has been received.

           The Corrections Complaint Examiner (CCE) has 35 days to submit a recommendation to the Office of the
           Secretary (OOS) for Review. The OOS has 45 days to make a decision after receiving the CCE's report. The
           OOS may extend the time for making a decision for cause and upon notice to all interested parties.

           If you do not receive a decision or other notices within that time, you may write directly to:
                                      Secretary of the Department of Corrections
                                      Post Office Box 7925
                                      Madison, WI 53707-7925




Print Date: October 02, 2023                                    Page 1 of 1                         Corrections Complaint Examiner's Office
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   DEPARTMENT OF CORRECTIONS                                                                                       WISCONSIN
   Department of Adult Institutions                                                                          Administrative Code
   DOC-404 (Rev. 04/18)                                                                                        Chapter DOC 310


                                                  CCE REPORT
                                      COMPLAINT NUMBER WCI-2023-12289
                                         * * * ICRS CONFIDENTIAL * * *

       To: FLEMMING, JAYVON R. - #556607
           UNIT: SU-A1 -- A126-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:      09/28/2023
          Date Appeal Received:          09/28/2023
          Subject of Complaint:          25 - Psychology
          Brief Summary:                 complains regarding not being seen by PSU
          Method of Disposition:            Review on Record? Yes                               Investigation? No

          CCE's Recommendation:          Dismissed
                                         As noted, "A review of Mr. Flemming's healthcare record shows that his PSU
                                         clinician is aware of his mental health concerns and has been responsive to
                                         those concerns. PSU has met with him frequently and has kept in contact with
                                         him between sessions through Psychological Service Requests and through
                                         homework assignments." Dismissal is recommended.

          Recommendation Date:          10/11/2023




                                         B. Hompe - Corrections Complaint Examiner




Print Date: November 01, 2023                                Page 1 of 1                     Corrections Complaint Examiner's Office
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   DEPARTMENT OF CORRECTIONS                                                                                  WISCONSIN
   Department of Adult Institutions                                                                     Administrative Code
   DOC-403 (Rev. 04/18)                                                                                   Chapter DOC 310


                                       OFFICE OF SECRETARY DECISION
                                      COMPLAINT NUMBER WCI-2023-12289
                                         * * * ICRS CONFIDENTIAL * * *


       To: FLEMMING, JAYVON R. - #556607
           UNIT: SU-A1 -- A126-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:       09/28/2023
          Date Appeal Received:           09/28/2023
          Subject of Complaint:           25 - Psychology
          Brief Summary:                  complains regarding not being seen by PSU

         OOS Decision:                    Dismissed

          Decision Comments:              The following is the Secretary's decision on the Corrections Complaint
                                          Examiner's recommendation of 10/11/2023 in the above appeal: The attached
                                          Corrections Complaint Examiner's recommendation to DISMISS this appeal is
                                          accepted as the decision of the Secretary.
          Decision Date:                 10/31/2023




                                         C. O'Donnell - Office of the Secretary




Print Date: November 01, 2023                                Page 1 of 1                                 Office of the Secretary
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                                                                                                   GENERAL REPORT
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                                                 State of Wisconsin
                                                   Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:        August 18, 2023
              Date Complaint Received:         August 15, 2023
              Subject of Complaint:         25 - Psychology

              Brief Summary:                complains regarding not being seen by PSU

        ICE Recommendation Information:          (Signed on 9/7/23 2:57:46PM):
              Person(s) Contacted:          Dr Van Buren
              Document(s) Relied Upon:      DOC 310
              ICE's Summary of Facts:       BK     Inmate Flemming complains regarding not being seen by PSU.

                                            Dr Van Buren was contacted and responded that Inmate Flemming is
                                            complaining about limited mental health options due to modified movement.
                                            Inmate Flemming has had contact with PSU.

                                            WCI has been on a modified movement since the end of March. Inmate is
                                            advised the administrative rules have already been suspended. Along with
                                            that, movement has changed and other modifications to Institution
                                            Operations have been made. The institution is working diligently to move
                                            back to normalcy but is still working under suspended rules.

                                            Recommendation is for dismissal as Inmate Flemming has had contact with
                                            PSU.

              ICE's Recommendation:         Dismissed
              ICE's Recommendation Date: September 07, 2023

        RA's Decision Information:      (Signed on 9/19/23 1:53:03PM):
              RA's Reason:                  A review of Mr. Flemming's healthcare record shows that his PSU clinician is
                                            aware of his mental health concerns and has been responsive to those
                                            concerns. PSU has met with him frequently and has kept in contact with him
                                            between sessions through Psychological Service Requests and through
                                            homework assignments.
              RA's Decision:                Dismissed
              RA's Decision Date:           September 19, 2023




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                                                                                                GENERAL REPORT
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                                              State of Wisconsin
                                               Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Appeal to CCE Information:
              Date Appeal Acknowledged:   September 28, 2023
              Date Appeal Received:       September 28, 2023

        CCE's Recommendation Information:      (Signed on 10/11/23 10:51:05AM):
              CCE's Summary:              As noted, "A review of Mr. Flemming's healthcare record shows that his PSU
                                          clinician is aware of his mental health concerns and has been responsive to
                                          those concerns. PSU has met with him frequently and has kept in contact
                                          with him between sessions through Psychological Service Requests and
                                          through homework assignments." Dismissal is recommended.

              CCE's Recommendation:       Dismissed
              CCE's Recommendation Date: October 11, 2023

        OOS' Decision Information:    (Signed on 10/31/23 9:47:22AM):
              OOS' Summary:               The following is the Secretary's decision on the Corrections Complaint
                                          Examiner's recommendation of 10/11/2023 in the above appeal: The
                                          attached Corrections Complaint Examiner's recommendation to DISMISS
                                          this appeal is accepted as the decision of the Secretary.
              OOS' Decision:              Dismissed
              OOS' Decision Date:         October 31, 2023




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                                                                                                                                               Department of Corrections

                                                                                                                                         DISTRIBUTION ITEMS
                                                                                                                                 for COMPLAINT NUMBER WCI-2023-12289
                                                                                 Item                           Create Date             Created By          Sent To            Inmate ID          Print Date             Printed By
                                                                          ICE Receipt                    08/18/2023 7:50:02AM    Brian Kolb                WCI                   556607    08/18/2023 2:27:40PM   Brian Kolb
                                                                          ICE Report                     09/19/2023 1:53:03PM    Marlena Larson            WCI                   556607    09/21/2023 1:59:32PM   Brian Kolb
                                                                          RA Report                      09/19/2023 1:53:03PM    Marlena Larson            WCI                   556607    09/21/2023 1:59:32PM   Brian Kolb
                                                                          CCE Receipt                    09/28/2023 10:17:42AM   Matthew Greenwood         WCI                   556607    10/02/2023 2:17:54PM   Brian Kolb
                                                                          CCE Report                     10/31/2023 9:47:22AM    Cindy O'Donnell           WCI                   556607    11/01/2023 2:43:28PM   Tonia Moon
                                                                          OOS Report                     10/31/2023 9:47:22AM    Cindy O'Donnell           WCI                   556607    11/01/2023 2:43:28PM   Tonia Moon




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